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                       UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF OKLAHOMA

   1. MATTHEW HIGGINS,                        )
                                              )
                       Plaintiff,             )
                                              )
    v.                                        )                   16-CV-573-RAW
                                                      Case No. ________________
                                              )
    1. TYSON POULTRY, INC.,                   )
    2. TYSON FOODS, INC.,                     )
                                              )
                       Defendants.            )

                          DEFENDANTS’ NOTICE OF REMOVAL

         TO THE CLERK OF THE ABOVE-ENTITLED COURT:

         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1441, et seq., Defendants Tyson

Poultry, Inc. and Tyson Foods, Inc. (“Tyson”) give notice of the removal of this action from the

District Court of McCurtain County, Oklahoma to the United States District Court for the Eastern

District of Oklahoma. Defendants remove the case without waiving, and while reserving, all

procedural and substantive rights and defenses. Defendants state the following in support of

removal:

         1.    On or about November 22, 2016, Plaintiff filed his Petition against Defendants in

the District Court of McCurtain County, Oklahoma, captioned Matthew Higgins v. Tyson Poultry,

Inc. and Tyson Foods, Inc., Case No. CJ-2016-122 (the “State Court Action”).

         2.    In his Petition, among other claims, Plaintiff asserts claims for gender

discrimination, sexual harassment, and retaliation under Title VII of the Civil Rights Act of 1964,

42 U.S.C. § 2000e, et seq., and for interference and retaliation under the Family and Medical Leave

Act, 29 U.S.C. § 2601, et seq. (Petition, Counts I and III).
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       3.      Accordingly, this Court has original federal question jurisdiction under 28 U.S.C.

§ 1331 because the claims contained in Counts I and II of Plaintiff’s Petition are based on claims

arising under the laws of the United States of America.

       4.      Defendants were served with the Summons and Petition in the State Court Action

on December 7, 2016. Pursuant to 28 U.S.C. § 1446(b), Defendants have 30 days following service

to remove this action to this Court; the date on or before which Defendants are required by law to

remove this action is January 6, 2017, and this Notice of Removal is timely filed.

       5.      The District Court of McCurtain County, Oklahoma is located within the Eastern

District of Oklahoma. Venue is proper in this Court because it is the “district and division

embracing the place where such [state court] action is pending.” 28 U.S.C. § 1441(a). This Notice

of Removal is appropriately filed with the Court Clerk’s Office in Muskogee.

       6.      In accordance with 28 U.S.C. § 1446(a), a copy of the entire file in the State Court

Action, including all pleadings and papers that have been filed and served on Defendant in the

State Court Action, are attached to this Notice as Exhibit 1 (Petition), Exhibit 2 (Summons), and

Exhibit 3 (Entry of Appearance for both of Plaintiff’s Counsel). Plaintiff has not served upon

Defendants any other process, pleadings or orders.

       7.      Also attached to this Notice as Exhibit 4 is a copy of the docket sheet from the

State Court Action.

       8.      Defendants will promptly, upon filing this Notice of Removal, give written notice

to Plaintiff’s Counsel and will file a copy of this Notice of Removal with the District Court of

McCurtain County, Oklahoma, as required by 28 U.S.C. § 1446(d). Attached to this Notice as

Exhibit 5 is a copy of the Notice of Defendants’ Notice of Removal to Federal Court, which is

being filed with the District Court of McCurtain County, Oklahoma.




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          9.    Exhibits 1 through 5 constitute all records and proceedings had in the State Court

Action.

          WHEREFORE, Defendants hereby notify this Court, Plaintiff, and the District Court of

McCurtain County, Oklahoma that the above-captioned matter has been removed to this Court.

                                                     Respectfully submitted,


                                                     /s/ J. Randall Coffey
                                                     J. Randall Coffey
                                                     Fisher & Phillips LLP
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                                                     Email: rcoffey@fisherphillips.com

                                                     ATTORNEYS FOR DEFENDANTS
                                                     TYSON POULTRY, INC. AND
                                                     TYSON FOODS, INC.




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                                CERTIFICATE OF SERVICE

       I certify that, on this 23rd day of December, 2016, a true and correct copy of the above and
foregoing DEFENDANTS’ NOTICE OF REMOVAL was filed using the Court’s CM/ECF
system, which will automatically send notice of filing to the following:

               Mark Hammons
               Amber L. Hurst
               Hammons Gowens & Hurst
               325 Dean A. McGee Ave.
               Oklahoma City, OK 73102
               TEL: (405) 235-6100
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               Email: mark@hammonslaw.com
               Email: amber@hammonslaw.com

               ATTORNEYS FOR PLAINTIFF
               MATTHEW HIGGINS



                                                     /s/ J. Randall Coffey
                                                     Attorney for Defendant




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